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                                             Before the
                                  Federal Communications Commission
                                        Washington, D.C. 20554

In the Matter of                                        )
                                                        )
Consent to Transfer Control of Certain Subsidiaries     )       MB Docket No. 22-162
of TEGNA Inc. to SGCI Holdings III LLC                  )
                                                        )       LMS File Nos. 0000186355 et al.
Consent to Transfer Control of Certain Subsidiaries     )
of Community News Media LLC to CMG Media                )
Operating Company, LLC                                  )       LMS File Nos. 0000186354 et al.
                                                        )
Consent to Transfer Control of Television Station       )
WFXT(TV), Boston, MA, from a Subsidiary of              )       LMS File No. 0000186353
CMG Media Operating Company, LLC to SGCI                )
Holdings III LLC                                        )
                                                        )
Consent to Assign Licenses from Certain                 )       LMS File Nos. 0000186458 et al.
Subsidiaries of TEGNA Inc. to Subsidiaries of           )
CMG Media Corporation                                   )
                                                        )

                                   HEARING DESIGNATION ORDER

Adopted: February 24, 2023                                                      Released: February 24, 2023

By the Chief, Media Bureau:

          1.      In this Order, we consider the applications in the Attachment seeking consent to transfer
control of TEGNA Inc. (TEGNA) to SGCI Holdings III LLC (SGCI Holdings), as well as three other sets
of applications filed contemporaneously seeking consent for a series of related transactions: (1) the
transfer of control of the four full-power television stations1 of Community News Media LLC (CNM), an
affiliate of Standard General L.P. (Standard General), to CMG Media Operating Company, LLC, a
wholly-owned subsidiary of CMG Media Corporation (CMG), which the Media Bureau (Bureau) has
previously determined to be under the de facto control of Apollo Global Management, Inc. (AGM);2 (2)
the transfer of control of Teton Parent Corp. (TPC), the parent company of licensee WFXT(TV), Boston,
Massachusetts, from a wholly-owned subsidiary of CMG to SGCI Holdings (the WFXT Transfer); and
(3) immediately upon consummation of the merger of TEGNA with TPC, the assignment of the licenses
of four full-power television stations3 from subsidiaries of post-merger TEGNA (New TEGNA) to
indirect, wholly-owned subsidiaries of CMG (collectively, the Transactions).4 The Applications are being
held in abeyance pending the resolution of this proceeding.5

1
 KBSI(TV), Cape Girardeau, MO; KLKN(TV), Lincoln, NE; WDKA(TV), Paducah, KY; and WLNE-TV, New
Bedford, MA (collectively, the CNM Stations).
2
 Terrier Media Buyer, Inc., Declaratory Ruling, 34 FCC Rcd 10544, 10549, paras. 14-15 (MB 2019). CMG was
formerly known as Terrier Media Buyer, Inc.
3
 KVUE(TV), Austin, Texas; KMPX(TV), Decatur, Texas; KHOU(TV), Houston, Texas; and KTBU(TV), Conroe,
Texas (collectively, the Texas Stations).
4
 A list of the Applications can be found in the Attachment. The parties amended the Applications on March 23 and
April 1, 2022. See Media Bureau Establishes Pleading Cycle for Applications to Transfer Control of TEGNA, Inc.,
                                                                                                    (continued….)

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         2.       We have conducted a detailed review of the record in this proceeding, including the
Applications, pleadings, and supplemental information submitted by SGCI Holdings, TEGNA, and CMG
(collectively, the Applicants), and based on the record before us, we are unable to find that grant of the
applications would be consistent with the public interest, as required by Sections 309(a), 309(e), and
310(d) of the Communications Act of 1934, as amended (the Act).6 As discussed in more detail below,
we find that substantial and material questions of fact exist regarding whether: (1) the Transactions are
structured in a way that is likely to trigger a rate increase harmful to consumers, as a result of contractual
clauses that take immediate effect after the consummation of the Transactions, and (2) the Transactions
will reduce or impair localism, including whether they will result in labor reductions at local stations.
Accordingly, in this Hearing Designation Order, we commence a hearing before the Administrative Law
Judge upon these questions.7
         3. A transaction of this magnitude has great potential to affect viewers, consumers, and local
communities, and it is incumbent upon the Bureau to fully understand the impact of the transaction before
it decides whether to approve the Applications. Indeed, as dictated by statute, the Commission may only
approve the transfer of control of a broadcast license if it determines that the grant will serve the public
interest. With respect to the applications before us, however, there remain significant concerns that
warrant further investigation. In particular, substantial and material questions remain as to both the
potential impact, and possible harm, to consumers through higher retransmission consent fees, and the
effect on localism through potential reductions in local jobs.
          4.      Accordingly, in order to properly assess the Applications, it is necessary to understand
the extent to which retransmission consent fees will likely rise as a result of the unique structure and
timing of the license transfers involved, and the impact of any such rise on competition and on service to
the viewing public. Further, it is important that we understand whether such an increase is the result of a
properly functioning, competitive marketplace, or something more worrisome. Particularly during a
period of high inflation and rising costs, the prospect of increased rates for pay television as a result of
machinations or manipulation, rather than market forces, would be extremely problematic. Equally as
critical is that we understand the impact the transaction will likely have on localism and specifically on
local jobs at the stations involved. Broadcast television remains an essential source of local news,
information, and service for local communities, but based on the record before us, questions remain as to

(Continued from previous page)
to Standard General, L.P., and Permit-But-Disclose Ex Parte Status for the Proceeding, Public Notice, MB Docket
No. 22-162, DA 22-443 (MB 2022). Copies of the Applications are available in the Commission’s Licensing and
Management System (LMS).
5
  In connection with the Applications, TPC, as a subsidiary of SGCI Holdings and the proposed indirect parent of
the TEGNA stations, also filed a Petition for Declaratory Ruling (PDR) requesting that the Commission, pursuant to
its authority under section 310(b)(4) of the Communications Act of 1934, as amended (the Act), allow it to exceed the
25% foreign ownership benchmark in section 310(b)(4) of the Act and section 1.5000(a)(1) of the Commission’s
rules, related to certain Cayman Island and British Virgin Islands investment funds. Amended Petition for
Declaratory Ruling of Teton Parent Corp., MB Docket No. 22-166 (filed Apr. 1, 2022). TPC had previously filed its
initial petition on March 10, 2022, and then filed its first amendment on March 23, 2022. See Media Bureau
Establishes Filing of Petition for Declaratory Ruling by Teton Parent Corp., Public Notice, MB Docket No. 22-166,
DA 22-446 (MB Apr. 21, 2022); see also, 47 U.S.C. § 310(b)(4); 47 CFR § 1.5000(a)(1). Consideration of the PDR
will similarly be held in abeyance pending the resolution of this proceeding.
6
  47 U.S.C. § 309(d)(2) (“If a substantial and material question of fact is presented or if the Commission for any
reason is unable to find that grant of the application would be consistent [with the public interest, convenience, and
necessity],” it must formally designate the application for a hearing in accordance with Section 309(e) of the Act).
See also 47 U.S.C § 310(d) (“No construction permit or station license, or any rights thereunder, shall be transferred,
assigned, or disposed of in any manner, voluntarily or involuntarily, directly or indirectly . . . except upon
application to the Commission.”).
7
    This proceeding will be restricted under our ex parte rules. See 47 CFR § 1.1208.

                                                           2
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whether local communities would be harmed by the Applicants’ plans and commitments. We therefore
find that a hearing is necessary and issue this Hearing Designation Order pursuant to sections 309(d) and
309(e) of the Act8 and the delegated authority of the Media Bureau.9 We emphasize that the scope of
designation of this order is limited to the issues set forth below. Upon resolution of this hearing, the
Media Bureau will then determine the appropriate next steps in consideration of the Applications.
I.          BACKGROUND
            A.       Proposed Transactions
        5.       Today TEGNA is the ultimate parent of the licensees of 64 full-power television stations,
two full-power radio stations, and other related Commission licenses.10 As set forth in the
Comprehensive Exhibit to the Applications and the related PDR filed by TPC, at the conclusion of the
proposed Transactions an indirect subsidiary of SGCI Holdings will hold all outstanding equity interests
in TEGNA. The subsidiary, TPC, will be the indirect controlling parent of 38 licensee subsidiaries
holding 61 full-power television stations, two full-power radio stations, and other Commission licenses.11
The proposed Transactions will also result in the transfer of WFXT(TV) from CMG to SGGI Holdings.
The Transactions consist of a series of four related, sequential transactions:
        6.      First, Standard General’s affiliate CNM will transfer the four television stations it
currently owns to a wholly-owned subsidiary of CMG.12
        7.       Second, to accomplish the WFXT Transfer, CMG will transfer control of its indirect,
wholly-owned subsidiary TPC to SGCI Holdings, through a recapitalization of TPC.13 Following the
recapitalization, SGCI Holdings will hold 100% of the voting shares of TPC and control of the WFXT
licensee, and CMG will hold only preferred, non-voting shares in TPC.14
         8.      Third, TEGNA will then merge into an indirect subsidiary of TPC, with New TEGNA
being the surviving entity and controlled by SGCI Holdings, a Delaware LLC whose sole Managing
Member is Soohyung Kim. Mr. Kim is also the Managing Partner of Standard General L.P. (Standard
General). As single majority shareholder of SGCI holdings, Mr. Kim holds 100% of the votes of SGCI
Holdings, and therefore will have ultimate control of New TEGNA.15 All other members of SGCI
Holdings are insulated pursuant to the Commission’s rules, and SGCI Holdings certifies that such
insulation is permitted under Delaware state law.16
        9.      SGCI Holdings will fund the purchase price for the TEGNA stock in part by loan
proceeds from a consortium of 12 bank lenders; the sale of senior secured notes; and the sale of Series A
non-voting preferred shares of stock in TPC to five sets of entities: (1) certain entities affiliated with Ares
Management Corporation (Ares) (50% of Series A shares); (2) certain entities affiliated with AGM

8
    See 47 U.S.C. §§ 309(d), 309(e).
9
    See 47 CFR §§ 0.61, 0.283.
10
     Comprehensive Exhibit at 1.
11
     Id. at 1 n.3.
12
     Id. at 3.
13
     Id. at 3-4.
14
  Specifically, CMG will be issued shares of Series B preferred non-voting stock, which carry a fixed rate of return
without the right for CMG to appoint board members, participate in the operations of the TPC stations, or realize
any additional economic benefits from improved TPC financial performance. These preferred shares will include
only limited minority investor protections. See id. at 3-4 & n.10.
15
     Id. at 4.
16
     Id. at 4 n.11; 47 CFR § 73.3555 note 2.

                                                          3
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(22.64%); (3) SG Media Investment LLC (14.39%); (4) OC III LFE III LP, an entity affiliated with
Pacific Investment Management Company LLC (8.11%); and (5) Cox Enterprises, Inc. (CEI) (4.86%).17
        10.     Fourth, immediately upon consummation of the TEGNA acquisition, New TEGNA will
assign the broadcast licenses and other assets of its Texas Stations to indirect wholly-owned subsidiaries
of CMG.18
           B.       Transaction Review Process
         11.      Applications. On April 21, 2022, the Bureau accepted the Applications for filing and
established a pleading cycle.19 On May 12, 2022, Common Cause, The NewsGuild-CWA (TNG-CWA),
and Public Knowledge filed a pleading entitled Motion of the Public Interest Parties for Additional
Information and Documents and an Extension of Time (Motion) related to the transaction.20 In light of
the questions raised in the Motion, on May 20, 2022, the Bureau extended the pleading cycle, requiring
petitions to deny the transaction to be filed by June 22, 2022, oppositions to be filed by July 7, 2022, and
replies to be filed by July 18, 2022.21 On June 3, 2022, the Bureau requested additional documents and
information from the Applicants to assist the Commission in performing its section 310(d) public interest
analysis.22 On June 3, 2022, the Bureau also adopted and released a Protective Order to allow interested
parties to review that information,23 and the Applicants submitted a responsive filing on June 13, 2022.24
The First Information Request Public Notice permitted parties to supplement any filed pleadings by the
July 18, 2022, reply deadline.25

17
   Comprehensive Exhibit at 4 n.12; Applicants’ Consolidated Opposition and Response to Comments (filed Jul. 7,
2022) (Applicants’ Consolidated Opposition) at 24. The Series A shares carry a fixed rate of return and provide no
right or opportunity for the Preferred Investors to appoint board members, participate in New TEGNA station
operations, or realize any additional economic benefits from New TEGNA’s improved performance.
Comprehensive Exhibit at 4 n.12. Certain Ares-managed funds will collectively hold the contractual right to have a
TPC board observer. Id. (identifying ASOF Holdings I, L.P.; ASOF II Holdings I, L.P.; ASOF II Holdings A (DE)
Holdings I, L.P.; and ASME Holdings I, L.P.).
18
     Comprehensive Exhibit at 5; see supra note 3.
19
 Media Bureau Establishes Pleading Cycle for Applications to Transfer Control of TEGNA, Inc., to Standard
General, L.P., and Permit-but-Disclose Ex Parte Status for the Proceeding, Public Notice, MB Docket No. 22-162,
DA 22-443 (MB Apr. 21, 2022).
20
     TEGNA and SGCI Holdings filed a Joint Opposition to that motion on May 17, 2022.
21
  Media Bureau Extends Pleading Cycle for Applications to Transfer Control of TEGNA, Inc., to Standard General,
L.P., Public Notice, MB Docket No. 22-162, DA 22-562 (MB May 20, 2022).
22
   Media Bureau Issues Information Request and Protective Order for Applications to Transfer Control of TEGNA,
Inc., to Standard General, L.P., Public Notice, MB Docket No. 22-162, DA 22-605 (MB Jun. 3, 2022) (First
Information Request Public Notice); 47 U.S.C. § 310(d). The Information Request sought documents submitted to
the Department of Justice and Federal Trade Commission in connection with required clearance of the proposed
transactions under the Hart-Scott-Rodino Antitrust Improvements Act, as well as: (1) a description of TEGNA’s
post-transaction retransmission negotiation strategy; (2) an answer regarding whether TEGNA and AGM intend to
enter into sharing agreements; (3) an explanation of how the transaction would serve the public interest, specifically
local programming; (4) a description of any changes to the rights of the preferred shareholders; and (5) an
accounting of how the Transaction would impact staffing reductions. Letter from Holly Saurer, Chief, Media
Bureau, FCC to Scott R. Flick, Counsel to SGCI Holdings, et al., MB Dkt. No. 22-162 (Jun. 3, 2022) (First
Information Request).
23
  Applications of TEGNA, Inc. (Transferor) and Standard General, L.P and SCGI Holdings III, LLC (Transferee),
Protective Order, MB Docket No. 22-162, DA 22-604 (MB Jun. 3, 2002) (Protective Order).
24
  Letter from Scott R. Flick, et al., to Marlene H. Dortch, Secretary, FCC, File No. MB 22-162 (filed Jun. 13, 2022)
(Applicants First Response Letter).
25
     First Information Request Public Notice at 1 (citing 47 CFR § 1.41).

                                                            4
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         12.      On June 22, 2022, TNG-CWA and the National Association of Broadcast Employees and
Technicians-CWA (NABET-CWA) (collectively, CWA) filed a petition to dismiss or deny the
Transactions, objecting on a number of bases, including that (1) the structure of the Transactions would
unfairly harm subscribers through increased MVPD subscription prices, and (2) the Transactions would
undermine localism as the parties cut costs and reduce local jobs.26 Common Cause and United Church of
Christ, OC, Inc. (collectively, Common Cause/UCC) also filed a petition to deny, arguing, among other
things, that the Transactions would (1) lead to higher prices for consumers through the triggering of after-
acquired clauses in retransmission contracts, and (2) undermine localism by reducing the amount and
scope of local news coverage because the Applicants’ business intentions include reporter layoffs.27 In
addition, ATV Broadcast, LLC; Andrea Morehead Allen; American Television Alliance (ATVA); Altice
USA, Inc. (Altice); and NCTA ‒ The Internet & Television Association (NCTA); and Graham Media
Group, Inc. (Graham) all filed comments.28 In particular, ATVA, Altice, and NCTA raise concerns with
the structure and sequencing of the Transactions and the perceived exploitation of contractual provisions
in the retransmission consent agreements held by the stations, which the commenters allege would result
in the imposition of higher retransmission fees in a manner inconsistent with a functioning, competitive
marketplace. On July 7, 2022, SGCI Holdings, TEGNA, and CMG jointly filed an Opposition to the
petitions to deny and several of the comments,29 and on August 1, 2022, CWA and Common Cause/UCC
together filed a late-filed pleading styled as a joint reply.30
        13.     On September 29, 2022, the Bureau issued a second request for documents and
information from the Applicants to assist the Commission in performing its section 310(d) public interest
analysis.31 The Applicants filed a joint response on October 13, 2022,32 and separately filed responsive
documents on that same date. CWA filed a Supplement to Petition to Dismiss or Deny on October 27,
2022.33 On November 4, 2022, the Applicants filed a Joint Response to the Supplement to Petition to
Dismiss or Deny.34

26
     CWA Petition to Dismiss or Deny (filed. Jun. 22, 2022) (CWA Petition) at 13-18.
27
     Common Cause/UCC Petition to Dismiss or Deny (filed Jun. 22, 2022) (Common Cause/UCC Petition) at 16-25.
28
  ATV Broadcast, LLC Comment (filed May 6, 2022); Andrea Morehead Allen Comment (filed May 24, 2022);
ATVA Comments (filed June 22, 2022); Altice Comments (filed Jun. 22, 2022); NTCA Comments (filed Jun. 22,
2022); Graham Comments (filed Jun. 22, 2022).
29
     Applicants’ Consolidated Opposition.
30
     TNG-CWA, NABET-CWA, UCC, and Common Cause Reply (filed Aug. 1, 2022) (Joint Reply).
31
  Letter from Holly Saurer, Chief, Media Bureau, FCC to Scott R. Flick, Counsel for SGCI Holdings III LLC, et al.,
MB Dkt. No. 22-162 (MB Sep. 29, 2022) (Second Information Request); Media Bureau Issues Second Information
Request for Applications to Transfer Control of TEGNA, Inc., to Standard General, L.P., Public Notice, MB
Dkt. No. 22-162, DA 22-1068 (MB Oct. 6, 2022) (Second Information Request Public Notice). Among other
documents requested, the Bureau sought presentations to investment institutions addressing each company’s
evaluation of the Transactions, the motivating reasons for each company’s participation in the Transactions, the
reasons why the Transactions would be advantageous to each company, as well as documents discussing the
reduction of staff, the diminution or displacement of local content, and the expansion of national content.
The Applicants’ responses to the Second Information Request were due by October 13, 2022. Parties could
supplement any filed pleadings by October 27, 2022, and the Applicants could respond to those pleadings by
November 3, 2022.
32
  Applicants’ Joint Response to the Media Bureau’s Request for Information (Applicants October 13, 2022 Joint
Response) (filed Oct. 13, 2022).
33
     CWA Supplement to Petition to Dismiss or Deny (CWA Oct. 27, 2022 Supplement) (filed Oct. 27, 2022).
34
   Joint Response to the Supplement to Petition to Dismiss or Deny (Applicants Joint Response to Supplement)
(filed Nov. 4, 2022).

                                                          5
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          14.     On December 23, 2022, the Bureau issued a public notice seeking comment on three
letters putting forth commitments by the Applicants and affiliated entities:35 (1) a December 16, 2022
letter from SGCI Holdings and Standard General, L.P. addressing “the applicability of retransmission
consent agreements to the TEGNA stations that will be controlled by Standard General L.P. and SGCI
Holdings . . . following the [Transactions]”;36 (2) a December 22, 2022 letter from SGCI Holdings and
Standard General, L.P. addressing concerns raised regarding reduction of local jobs after consummation
of the Transactions;37 and (3) a December 23, 2022 letter filed by filed by SGCI Holdings, Standard
General, L.P., AGM, and CMG addressing concerns regarding potential coordination between (a) SGCI
Holdings, Standard General L.P., and TEGNA on the one hand and (b) AGM and investment funds
managed by its affiliates CMG and its subsidiaries on the other hand after consummation of the
Transactions.38
II.         DISCUSSION
         15.      Section 310(d) of the Act provides that no station license shall be transferred or assigned
unless the Commission, on application, determines that the public interest, convenience, and necessity
will be served thereby.39 If the transaction would not violate a statute or rule, the Commission considers
whether it could result in public interest harms by substantially frustrating or impairing the objectives or
implementation of the Act or related statutes.40 Under Section 309(d) of the Act, “[i]f a substantial and
material question of fact is presented or if the Commission for any reason is unable to find that grant of
the application would be consistent [with the public interest, convenience, and necessity],” it must
formally designate the application for a hearing in accordance with Section 309(e) of the Act.41 Courts
have stated that, in reviewing the record, the Commission must designate an application for hearing if
“the totality of the evidence arouses a sufficient doubt” as to whether grant of the application would serve
the public interest.42
         16.      Applying these principles to the transaction at issue, we designate for hearing the above-
captioned applications because there exists a substantial and material question of fact as to: (1) whether
retransmission consent fees will rise as a result of the Transactions, and if so, whether such an increase is
the result of a properly functioning, competitive marketplace, or, alternatively, whether such rate
increases would be the result of the unique structure of the Transactions in which the various assignments
and/or transfers of control are closed sequentially in order to take advantage of after-acquired station
clauses and maximize retransmission revenue; and (2) whether and if so, to what extent, the proposed
transaction will harm localism, including through the reduction of station-level staffing.

35
  Media Bureau Seeks Comment on Letters filed by SGCI Holdings III LLC and Standard General L.P. Regarding
Applications to Transfer Control of TEGNA, Inc., MB Dkt. No. 22-162, DA No. 22-1368 (re. Dec. 23, 2022).
36
 Letter from Soohyung Kim, SGCI Holdings and Standard General, L.P., to Marlene H. Dortch, FCC, Dkt.
No. 22-162 (filed Dec. 16, 2022) (SG Retransmission Waiver Letter)).
37
 Letter from Soohyung Kim, SGCI Holdings and Standard General, L.P., to Marlene H. Dortch, FCC, Dkt.
No. 22-162 (filed Dec. 22, 2022) (SG Staffing Letter)).
38
 Letter from Soohyung Kim, SGCI Holdings and Standard General, L.P., et al. to Marlene H. Dortch, FCC,
Dkt. No. 22-162 (filed Dec. 23, 2022).
39
  Section 310(d) of the Act requires that the Commission consider an application as if the proposed
assignee/transferee were applying for the license directly. 47 U.S.C. § 310(d); see also SBC Commc’ns Inc., and
AT&T Corp. Applications for Approval of Transfer of Control, Memorandum Opinion and Order, 20 FCC Rcd
18290, 18300, para. 16 (2005) (SBC-AT&T Order).
40
     Id.
41
     47 U.S.C. §§ 309(d) and (e) (emphasis added).
42
  Serafyn v. FCC. 149 F.3d 1213, 1216 (D.C. Cir. 1998) (quoting Citizens for Jazz on WRVR Inc. v. FCC, 775 F.2d
392, 395 (D.C. Cir. 1985)).

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         17.     Although the parties to this proceeding at the Bureau’s direction have developed a record
that is not insubstantial, for the reasons set forth below there remain substantial and material questions of
fact and based upon the record before us, we are unable to find that grant of these Transactions would be
consistent with the public interest and therefore must investigate these issues further at hearing.
         18.       As described above, two sets of entities have filed petitions to deny the Applications,
CWA and Common Cause/UCC.43 We note that while these entities have filed petitions to deny, the
Applicants have challenged whether the parties have standing as “parties in interest.”44 Therefore, as an
initial matter, we will address briefly the standing of these entities. Both sets of entities included with
their respective petition affidavits from various members residing in markets in which TEGNA stations
operate. These affidavits attest to the fact that the members are regular viewers and/or MVPD subscribers
of the stations involved in the transaction and assert that they will be harmed by the proposed transaction,
including by the potential effect it could have on jobs, local journalism, and the cost of cable and satellite
subscription fees.45 Under both the Commission’s long-standing precedent46 and its more recent
decisions,47 entities that have submitted such affidavits from members in at least one market involved in
the transactions—which each of the parties have done here—qualify as parties in interest with standing to
file a petition to deny with at least respect to those markets.48 Accordingly, we find that these parties have
standing to file petitions to deny the Applications.49 Further, as indicated below, we designate these
petitioners as parties in interest to this hearing.




43
     See supra at para. 11.
44
   TEGNA Consolidated Opposition at 7-11. Under Section 309(d) of the Act, only a “party in interest” has
standing to file a petition to deny but the Act neither defines the term nor explains to which class of persons and/or
entities it applies. Section 309(d) provides, in part, “[t]he petition shall contain specific allegations of fact sufficient
to show that the petitioner is a party in interest and that a grant of the application would be prima facie inconsistent
with subsection (a) of this section […]. Such allegations of fact shall, except for those of which official notice may
be taken, be supported by affidavit of a person or persons with personal knowledge thereof.” 47 U.S.C. § 309(d).
45
     CWA Petition at 7-10 and Exhibits A-N; Common Cause/UCC Petition at 10–11 and Appendix at 2–59.
46
   In the broadcast regulatory context, standing is generally shown in one of three ways: (1) as a competitor in the
market subject to signal interference; (2) as a competitor in the market subject to economic harm; or (3) as a resident
of the station’s service area or regular listener of the station. See, e.g., Entercom License, LLC, Hearing Designation
Order, 31 FCC Rcd 12196, 12205-06 (2016); Melodie Virtue, Esq., Letter Decision, 30 FCC Rcd 6045 (MB 2015).
For viewer standing, the petitioner must allege that he or she is a resident of the station’s service area or a regular
viewer of the station. See Rainbow/PUSH Coalition v. FCC, 330 F.3d 539, 542-43 (D.C. Cir. 2003). Further, the
Commission has held that “an association may establish standing as the representative of its members, as long as it
alleges that one or more of its members has standing.” Petition for Rulemaking to Establish Standards for
Determining the Standing of a Party to Petition to Deny a Broadcast Application, Memorandum Opinion and Order,
82 F.C.C.2d 89, 96, para. 20 (1980).
47
  Applications of Tribune Media Company, Nexstar Media Group, Inc. et al, MB Docket No. 19-30, Memorandum
Opinion and Order, 34 FCC Rcd 8436, 8449, para. 25, n.112 (2019) (Nexstar/Tribune) (finding that an organization
had standing to file a petition to deny in a multi-market transaction in the affected markets for which the
organization had provided affidavits from member viewers).
48
  Furthermore, as the Commission has noted previously, “[v]iewed as a whole, the legislative history of section
309(d)(1) makes plain that Congress's unwavering goal has been to ensure that petitions advancing interests
legitimately related to the purposes of the Act should be considered by the Commission.” Petition for Rulemaking
to Establish Standards for Determining the Standing of a Party to Petition to Deny a Broadcast Application, 82
F.C.C.2d 89, 95, para. 18 (1980).
49
 Because we find that the entities are parties in interest on this basis, we need not and do not decide whether they
would also qualify as parties in interest based on any of the other theories of standing that they advance.

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            A.      Potential Public Interest Harm from Increased Retransmission Consent Fees
          19.      Pursuant to section 325 of the Communications Act, multichannel video programming
distributors (MVPDs) may retransmit the signal of a local broadcast television station on a cable or
satellite television system only with the station’s permission.50 To facilitate the carriage of local stations,
the Act permits licensees of commercial television stations to elect to either require the MVPDs to carry
their signals automatically but without compensation, or to negotiate with MVPDs for the right to
retransmit the station’s signal in exchange for remuneration.51 If a station elects transmission consent, the
station and MVPD negotiate a carriage agreement, known as retransmission consent agreement, which
typically involves a fee paid to the local broadcast station calculated on a per-subscriber, per-month
basis.52 If the parties are unable to negotiate such a carriage agreement, the MVPD must stop
retransmitting the station’s broadcast signal and viewers lose access to the station on the MVPD’s cable
or satellite television system in what is known as a blackout.53
        20.      Many broadcast television stations, particularly large station groups, generate significant
revenue in exchange for granting MVPDs the right to rebroadcast their stations’ signals. As the
Commission detailed in its recent Communications Marketplace Report, across the broadcasting industry,
revenue from the retransmission of local broadcast signals has increased by 42% over a period of five
years, growing from $9.5 billion in 2017 to $13.5 billion in 2021.54 Over the last decade, the fees
obtained from retransmission consent agreements have become an increasingly significant source of
revenue for broadcast stations even while revenue from the sale of advertising time has stagnated or
declined. Such retransmission consent fees have been estimated to account for approximately 40% of
broadcast station revenue, with the remainder derived primarily from the sale of advertising.55
Retransmission consent fees paid by the MVPD to the broadcast stations are essentially passed on to
consumers as part of the service fees paid by subscribers for the MVPD service.56



50
     47 U.S.C. § 325(b).
51
  Section 325(b) of the statute affords commercial television stations the right to elect every three years whether to
receive mandatory carriage by MVPDs in their relevant geographic market or to negotiate with those MVPDs to
retransmit the station’s signal in exchange for compensation. 47 U.S.C. § 325(b)(3)(B); 47 CFR §§ 76.56(b), 76.64.
52
  Communications Marketplace Report, GN Docket No. 22-203, FCC 22-103, Report, at 167, para. 275 (2022)
(2022 Communications Marketplace Report).
53
   Id. The Act and the Commission’s rules require that MVPDs and the licensees of television broadcast stations
negotiate retransmission consent in good faith. 47 U.S.C. § 325(b). The Commission established a list of objective
negotiating standards, the violation of which constitutes a per se failure to negotiate in good faith. 47 CFR § 76.65.
Even if those specific standards are met, the Commission may consider whether, based on the totality of the
circumstances, a party has failed to negotiate retransmission consent in good faith. 47 CFR § 76.65(b)(4).
54
     Id.
55
     2022 Communications Marketplace Report at 140, para. 215.
56
   See, e.g., id. at 24, para. 66 (“In response to increased programming costs, many MVPDs have added ‘broadcast
fees’ and ‘regional sports fees’ to monthly billing statements to pass those costs through directly to consumers and
cover a portion of the increased programming costs without appearing to raise the rate of the television service.”);
Annual Assessment of the Status of Competition in the Market for the Delivery of Video Programming, Eighteenth
Report, 32 FCC Rcd 568, 608-609, para. 120 (2017) (noting that most consumers indirectly pay for broadcast
stations as part of their MVPD service fees, which are calculated, in part, to cover retransmission consent fees that
the MVPD pays to local stations); see also, Implementation of Sections of the Cable Television Consumer Protection
and Competition Act of 1992, First Order on Reconsideration, Second Report and Order, and Third Notice of
Proposed Rulemaking, 9 FCC Rcd 1164, 1209, para. 87 (1993) (noting in the context of implementation of rate
regulation, that cable operators may pass through to subscribers increases in certain categories of external costs
including the costs of retransmission consent fees).

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         21.     Consistent with the retransmission consent regime adopted by Congress, the Commission
has looked to a properly functioning marketplace, and the good-faith negotiations between the parties, to
determine the rate, if any, to be paid by an MVPD for the carriage of a local broadcast station.57 The
Commission has recognized, however, that supra-competitive increases in retransmission consent fees can
result in pressure for retail price increases for subscription video services to the detriment of consumers,
and therefore, the public interest.58 As such, the Commission has been alert to the potential for public
interest harms arising from retransmission consent rates, particularly in the context of transactions
involving large broadcast television companies or MVPDs.59 And, in previous transactions, the
Commission has found that such increases and the resulting increased retail rates are not in the public
interest.60
         22.      Even decisions that have not found a public interest harm related to alleged increases in
retransmission consent fees in connection with a transaction have acknowledged the potential for such
harms. For example, in Nexstar/Media General, the Bureau and the Wireless Telecommunications
Bureau addressed concerns that a merger between two large broadcast television companies would
increase retransmission consent fees and trigger after-acquired station clauses to the detriment of
consumers and the public interest.61 While Nexstar/Media General did not find that the transaction would
result in undue leverage in the negotiation of retransmission consent fees, it noted that the Bureaus did
“not foreclose the possibility, in the future, of looking at rising retransmission fees, black outs, and other
related issues in a context broader than local markets,” emphasizing that “such harms must be
demonstrably transaction-specific and not industry-wide in nature to be addressed in the context of a
transfer of control proceeding.”62

57
   See Amendment of Commission’s Rules Related to Retransmission Consent, Report and Order and Further Notice
of Proposed Rulemaking, 29 FCC Rcd 3351, 3352-3, para. 2 (2014) (citing S. Rep. No. 92, 102nd Cong., 1st Sess.
(1991), reprinted in 1992 U.S.C.C.A.N. 1133, 1169) (Retransmission Consent Report and Order).
58
   See id. at 3363, para. 17 (adopting a rule barring the joint negotiation of retransmission consent fees for stations in
a local market in certain circumstances in an effort to protect consumers and prevent supra-competitive price
increases in retransmission consent fees).
59
  See, e.g., Applications of AT&T, Inc. and DIRECTV for Consent to Assign or Transfer Control of Licenses and
Authorizations, Memorandum Opinion and Order, 30 FCC Rcd 9131, 9217-23 para. 225-238 (2015); Applications of
Charter Communications, Inc., Time Warner Cable Inc., and Advance/Newhouse Partnership for Consent to Assign
or Transfer Control of Licenses and Authorizations, Memorandum Opinion and Order, 31 FCC Rcd 6327, 6463-64
para. 276-279 (2016); Consent to Transfer Control of Certain License Subsidiaries of NBI Holdings, LLC to Terrier
Media Buyer, Inc.; Consent to Transfer Control of Certain License Subsidiaries of Cox Enterprises, Inc. to Terrier
Media Buyer, Inc., et al., Memorandum Opinion and Order, 34 FCC Rcd 10554, 10565-67 para. 30-34 (MB 2019);
and Nexstar/Tribune, 34 FCC Rcd at 8450-52, paras. 27-31 (2019) (each analyzing concerns raised by petitioners
and commenters in the respective transactions regarding the potential impact on retransmission consent fees and the
public interest).
60
   See, e.g., EchoStar Commc’ns Corp., Gen. Motors Corp., and Hughes Elec. Corp., Hearing Designation Order, 17
FCC Rcd. 20559, 20624, para. 169 (2002) (“[The evidence] strongly suggests that, in the absence of any significant
savings in marginal cost, the merger will result in a large increase in post-merger equilibrium prices. Given this
likelihood, we cannot find that the Applicants have met their burden of demonstrating that the proposed merger will
produce merger-specific public interest benefits of the magnitude the Applicants allege.”); Adelphia Commc’ns
Corp., Time Warner Cable Inc., and Comcast Corp., Memorandum Opinion and Order, 21 FCC Rcd. 8203, 8261,
para. 116 (2006) (“[W]e find that the transactions may increase the likelihood of harm in markets in which Comcast
or Time Warner now hold, or may in the future hold, an ownership interest in RSNs, which ultimately could
increase retail prices for consumers and limit consumer MVPD choice. We impose remedial conditions to mitigate
these potential harms.”).
61
 Applications to Transfer Control of License Subsidiaries of Media General, Inc., to Nexstar Broadcasting, Inc.,
Memorandum Opinion and Order, 32 FCC Rcd 183 (MB/WTB 2017) (Nexstar/Media General).
62
     Nexstar/Media General, id. at 196-197, para. 35.

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         23.      More recently, in Nexstar/Tribune, the Commission expressed concern about increases in
retransmission consent fees that are not the result of “competitive marketplace considerations.”63 In that
case, the Commission addressed allegations that a proposed merger would harm MVPDs and consumers
by causing increases in retransmission consent fees, thereby harming the public interest. While the
Commission ultimately held in that case that an increase in retransmission consent rates, by itself, was not
necessarily a public interest harm, it was careful to qualify its holding.64 There, the Commission noted
that a public interest harm would be more likely if a rise in rates was not the result of a functioning
retransmission consent marketplace or was the product of market power.65 Further, the Commission
specifically discussed after-acquired station clauses, which allow a broadcaster to bring newly acquired
stations under its existing retransmission consent agreement, substituting the acquiring broadcaster’s
retransmission consent fee for the rate previously negotiated by the MVPDs for the broadcast stations in
question.66 While the Commission found that there was no apparent reason to step in and deny one party
the benefit of the negotiated bargain of after-acquired clauses in that case, it suggested that such
intervention would be appropriate if there was “evidence of anticompetitive practices or other
wrongdoing.”67
         24.      Thus, the caselaw makes clear that increases in retransmission consent rates can
constitute a public interest harm if such increases are not simply the product of a properly functioning
competitive marketplace. In particular, evidence that anticompetitive practices or other wrongdoing could
distinguish what would perhaps constitute a market-driven rate increase from one that is anti-competitive,
unwarranted, and harmful to consumers and the public interest. In the instant matter, we find that there is
a substantial and material question of fact as to whether any increase in retransmission fees as a result of
this transaction is the result of a properly functioning, competitive marketplace, or, alternatively, whether
such rate increases would be the result of: (1) the unique structure of the Transactions in which the
various assignments and/or transfers of control are closed sequentially in order to take advantage of after-
acquired station clauses and maximize retransmission revenue, or (2) some other anticompetitive
practices or other wrongdoing, and accordingly, the impact of any such rate increases on the viewing
public, including MVPD subscribers.
         25.     Numerous opponents of the Transactions suggest that the Applications in the instant
proceeding are carefully sequenced in order to increase retransmission consent fees through the triggering
of after-acquired station clauses resulting in instant fee increases that will be passed along to consumers
as a price increase for MVPD service.68 Under the proposed deal structure, the Transactions begin with
CMG selling a single station, Boston station WFXT(TV), via the transfer of control of that station’s
parent company, TPC. Then, CMG’s former Boston station effectively acquires the current TEGNA
stations, seemingly in an effort to ensure that the CMG retransmission consent agreement governing
WFXT will then apply to all of New TEGNA –as those stations are theoretically “after-acquired stations”
of TPC—thereby achieving an immediate rate increase for those stations as if CMG had acquired those
stations. The Petitioners argue that this structure and careful sequencing of the Transactions would allow
the Applicants to charge higher retransmission consent rates, which in turn will be passed on to
consumers in the form of higher retail subscriber prices.69 The Petitioners and commenters assert further
63
     Nexstar/Tribune, 34 FCC Rcd at 8451-52, para. 29.
64
     Id.
65
     Id.
66
     Id. at 8445, para. 16.
67
     Id. at 8462-63, para. 59; see, also, Nexstar/Media General, 32 FCC Rcd 182, 197, para. 35.
 See, e.g., CWA Petition at 19 (“After a number of intermediate steps, the end result would be that Standard
68

General would buy a Boston TV station from Apollo’s CMG, sell four Texas stations to CMG and buy most of
TEGNA’s stations.”); Common Cause/UCC Petition at 22-23; Altice Comments at 2-5.
69
     Common Cause/UCC Petition at 22-23.

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that there is no claimed, or valid, public interest benefit from these orchestrated transfers,70 nor is there
any “retransmission consent” exception to such consumer harm.71 In addition, the Petitioners assert that
the current period of historic inflation heightens the harm to consumer welfare in this context,72 and that it
is axiomatic that increased transmission fees will certainly be directly passed on to consumers.73
         26.     Petitioners and several commenters acknowledge the Commission’s precedent regarding
intervention in retransmission consent fees, but argue that the qualifying language of Nexstar/Tribune
renders that holding inapplicable here, as the expected price increase would not result from competitive
marketplace considerations.74 Rather than the result of a functioning competitive marketplace, they argue
that the proposed sequencing of the Transactions was designed to exploit existing contracts in a manner
beyond the scope of what was contemplated by the MVPD party to those agreements (two of which are
commenters here).75 Commenters further assert that the Applicants wrongly seek to “commandeer” the
provisions in the CMG retransmission consent agreements (held by Boston station WFXT(TV)) and
achieve terms of contracts that were negotiated in an unrelated transaction.76 Structuring the entire
transaction around these clauses, the Petitioners and commenters argue, would increase prices without
negotiating for such increases, and effectively lead to the application of the CMG retransmission consent
agreements to the New TEGNA stations.77 Although some parties assert that any increase in the price of
retransmission consent fees could constitute a harm, others assert that the current situation is consistent
with Commission precedent, which allows for a finding of harm where the parties have artificially
constructed a deal intending to raise retransmission fees.78
        27.      The Applicants argue that such criticisms are deficient for multiple reasons. Specifically,
they argue that the Commission has consistently declined to consider the potential for increased
retransmission consent rates to be a public interest harm and that, consistent with its precedent, the
Commission should not step in to alter negotiated agreements. Further, they argue that MVPDs’
complaints of the impact of after-acquired clauses are inappropriate here, as most of the Applicants’
retransmission agreements currently in effect have a three-year term agreement, and were negotiated in
the shadow of the potential (or actual) sale of TEGNA that was widely reported as news since early
2019.79 The Applicants explain that “nearly 70% of MVPD subscribers receiving a TEGNA station
subscribe to an MVPD that has negotiated (or will negotiate) a new transmission agreement with TEGNA
between September 20, 2021 (when news of Standard General’s TEGNA deal first publicly leaked) and


70
     See, e.g., CWA Petition at 21.
71
     Altice October 20, 2022 Ex Parte Letter at 1-2.
72
     CWA Petition at 21; Common Cause/UCC Petition at 22-23.
73
     CWA Petition at 21; Common Cause/UCC Petition at 24.
74
     See, e.g., CWA Petition at 19-21.
75
  See, e.g., CWA Petition at 20; DISH Comments at 5 (stating such a rate increase would be attributable to the
“artificial manipulation of retransmission consent negotiations, not of a competitive marketplace”); Altice Oct. 20,
2022 Ex Parte Letter at 2.
76
 ATVA Comments at 4; Letter from Christina Chou, Altice USA, Inc. to Marlene H. Dortch, FCC, MB
Docket No. 22-162 (filed Oct. 20, 2022) at 1; see also ATVA Comments at 4.
77
     Altice Comments at 6.
78
  E.g. Altice Reply at 2 (“[W]hen parties artificially ‘engineer’ a transaction for the purpose of raising
retransmission consent prices, as opposed to such increases being merely a consequence of a transaction, the
Commission should take action.”). In addition, some argue that Nexstar/Tribune is limited only to arms-length
contracts with broadcasters. See, e.g., CWA Petition at 20.
79
     Applicants’ Consolidated Opposition at 38.

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the end of [2022].”80 Further, they contend that the Petitioners’ arguments regarding inflationary
pressures are logically flawed, because broadcasters face the same pressures,81 and that consumers need
not pay increased prices because of the many alternative video programming options available to them.82
        28.      In addition, the Applicants assert that the recent commitments it has offered obviate the
potential for any harm arising from the application of after-acquired station clauses. In filing the SG
Waiver Letter, Standard General L.P. and SGCI Holdings preface their commitment by stating that “any
impact of the Transactions on the retransmission consent fees payable by [MVPDs] is not central to
Standard General’s thesis” for the proposed Transactions, and they then commit to:
            (1) voluntarily and irrevocably waive[] enforcement or other application of any term or condition
            of [a retransmission consent agreement] that would, by reason of any of the Transactions, result
            in [a retransmission consent agreement] between [CMG] and any MVPD applying to any current
            TEGNA station that will be controlled by [Standard General L.P. and SGCI Holdings] after the
            Closing (such stations, the “TEGNA Stations”); and

            (2) acknowledge[] and agree[] that the intent and effect of such waiver is to permit [a
            retransmission consent agreement] with TEGNA in effect as of the time immediately prior to the
            Closing to continue to apply to the TEGNA Stations as of and following the Closing.83
         29.     Petitioners and commenting parties raise multiple objections to the adequacy of these
commitments to remedy any harm caused by the triggering of the after-acquired station clauses. For
example, they argue that TEGNA and CMG already have knowledge of the expiration date of each
other’s contracts that creates additional leverage in retransmission negotiations, and no waiver can undo
that anticompetitive advantage.84 They also contend that while the proffered commitment would waive
application of CMG’s existing after-acquired station clauses to TEGNA’s stations, it would not prevent
them from using information previously acquired to manipulate Cox’s after-acquired station clauses such
that TEGNA could benefit from clauses negotiated by Cox.85 In addition, CWA and Common
Cause/UCC argue that Mr. Kim’s statement in the SG Waiver Letter that the impact of the retransmission
consent fees is not “central to the thesis” of the Transactions is belied by the multitude of revenue
projections that the Standard General entities and AGM consistently presented to prospective investing
banks, which are contained in the record of this proceeding.86


80
     Id. at 39 (citation omitted).
81
     Id. at 39-40.
82
     Id. at 40-42.
83
     SG Waiver Letter at 1.
84
  See Letter from Michael Nilsson, Counsel to ATVA, Marlene H. Dortch, FCC (filed Jan. 13, 2023) at 5-6 (ATVA
Jan. 13, 2003 Ex Parte Letter); DISH January 13, 2023 Comments at 6; see also Letter from Michael Nilsson to
Marlene Dortch, MB Docket No. 22-162 (filed Dec. 2, 2022) at 2.
85
   See ATVA Jan. 13, 2003 Ex Parte Letter at 6. Further, while the proposal nominally applies to Standard General
L.P., SGCI Holdings III, and CMG, commenters note that it does not explicitly provide any assurance that another
affiliated entity might seek to enforce any of CMG’s after-acquired station clauses, or otherwise seek to apply
CMG’s rates to TEGNA stations. See, e.g., ATVA Jan. 13, 2003 Ex Parte Letter at 6-7; DISH January 13, 2023
Comments at 7-8. For example, ATVA seeks confirmation that when Standard General “voluntarily and
irrevocably” waives enforcement of such clauses, so too will subsidiaries Teton Parent, Teton Midco, Teton Opco,
TEGNA, and the individual Tegna Stations. ATVA Jan. 13, 2003 Ex Parte Letter at 6-7.
86
   CWA and Common Cause/UCC Jan. 13, 2023 Comments at 13-17 (“It is clear that from the earliest phases of
structuring the TEGNA transaction, Standard General relied on the prospect of enhanced retransmission revenues
that would come from exercise of the after-acquired station clause made available by including AGM’s Boston TV
station in the deal. There are too many documents referring to that aspect of the deal to be listed and discussed here,
                                                                                                         (continued….)
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        30.       Opponents of the Transactions further assert that the Commission recognized in
Nexstar/Tribune that there could be circumstances that would justify Commission action to address rising
retransmission consent rates. The Opponents assert that anticompetitive wrongdoing of the sort they
allege exists in this case is precisely such a circumstance to warrant Commission intervention and
constitutes a public interest harm to MVPDs and consumers. Specifically, ATVA asserts that the
“unprecedented” structure of this transaction could not have happened without the sharing of information
between TEGNA and CMG with respect to markets in which they overlap, in violation of the
Commission rules prohibiting such information sharing.87
         31.      The Applicants respond that the commitment they have offered to waive after-acquired
clauses addresses any concerns about downstream subscriber rate increases, and that this action is not just
a proposal or behavioral remedy, but a “fact” because the irrevocable waiver letters were signed and sent
to the relevant MVPDs in December, 2022.88 They counter that increasing retransmission consent fees
cannot be the main purpose of the Transactions, where SGCI Holdings voluntarily waived its contractual
rights and yet is still seeking approval to consummate the Transactions.89 With regard to ATVA’s earlier-
stated concern that any such waiver should apply without time restriction,90 the Applicants counter that
increased retransmission consent rates are not at standalone cognizable public interest harm, and that the
Commission has limited authority over retransmission consent negotiations.91 In addition, the
Commission has already determined that the proper forum for the reconsideration of its longstanding
position that an increase in MVPD programming costs is not in and of itself a public interest harm is a
rulemaking proceeding.92
         32.    Based on the record before us, we are unable to find, due to the unique structure of the
Transactions in which the various assignments and/or transfers of control are closed sequentially in order
to take advantage of after-acquired station clauses and maximize retransmission revenue, that rates to
MVPD subscribers would not rise beyond that which would occur in a properly functioning competitive
market. In addition, especially given questions about the intended scope of the commitments relating to
enforcement of such clauses, we are unable to find that the commitments offered by the Applicants would
adequately mitigate such a result. Accordingly, we designate the Applications for a hearing to determine:
whether the sequencing of the Transactions was intended primarily to increase retransmission fees;
whether consummation of the Transactions will likely cause an increase in rates for the retail subscribers
of the MVPDs that currently hold, or will in the future negotiate, retransmission agreements with the
Applicants; whether the sequencing of the Transactions constitutes anticompetitive activity; what the
extent of harm to viewers and the public interest would be as a result, whether any such harm would be
adequately mitigated by the commitments offered by the Applicants in the SG Waiver Letter; and/or




(Continued from previous page)
but one of the most critical - and telling - instances occurs in an email thread that began on the morning of
September 17, 2021. . . .”).
87
   Letter from Michael Nilsson, Counsel for ATVA, to Marlene H. Dortch, FCC (filed Jan. 13, 2023) at 4-5, n.19
(tracing that the Commission’s adoption of section 76.65(b)(1)(viii) of the Commission’s rules, which bars such
activity).
88
     Applicants January 20, 2023 Joint Reply Comments at 6-7.
89
     Id. at 8.
90
     See ATVA Comments at 6.
91
     Applicants January 20, 2023 Joint Reply Comments at 18 (citations omitted).
92
     Id. at 18-19 (citations omitted).

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whether any of the Applicants violated any Commission rules or committed other wrongdoing in
constructing the Transactions.93
           B.      Potential Public Interest Harm to Localism, Including Due to Labor Reductions
         33.     Localism, along with competition and diversity, is a longstanding core Commission
broadcast policy objective, which together forms the cornerstone of broadcasting.94 The Commission has
consistently interpreted the localism obligation to require that broadcasters air material that is responsive
to the needs and interests of the communities that their stations are licensed to serve, including local
news, information, and public affairs programming.95
         34.      In discussing its localism goal, the Commission has emphasized that “[b]roadcasters, who
are temporary trustees of the public’s airwaves, must use the medium to serve the public interest, and the
Commission has consistently interpreted this to mean that licensees must air programming that is
responsive to the interests and needs of their communities of license.”96 This principle, that a “broadcast
licensee’s authorization to use radio spectrum in the public interest carries with it the obligation that the
station serve its community, providing programming responsive to local needs and interests”97 is a crucial
and oft-stated maxim aimed at ensuring that licensees use the broadcast spectrum consistent with the
intent of Congress and to the benefit of local communities.98
         35.   In reiterating the importance of localism and its primacy to the Commission’s ownership
rules, the Commission has explained previously that it typically looks to two measures when seeking to
93
   See, e.g., Letter from Michael Nilsson, Counsel for ATVA, to Marlene H. Dortch, FCC, MB Dkt. No. 22-162
(filed Jan. 13, 2022) (alleging that “the ‘unprecedented’ structure of this transaction could not have happened
without information sharing among the parties, including with respect to markets in which TEGNA and Cox
overlap. The FCC rules, of course, prohibit such information sharing.”).
94
  2002 Biennial Regulatory Review – Review of the Commission’s Broadcast Ownership Rules and Other Rules
Adopted Pursuant to Section 202 of the Telecommunications Act of 1996, Report and Order and Notice of Proposed
Rulemaking, 18 FCC Rcd 13620, 13643-13644, paras. 73-76 (2003) (subsequent history omitted) (2002 Biennial
Review); Broadcast Localism, Notice of Inquiry, 19 FCC Rcd 12425 at para. 1 (2004) (Broadcast Localism NOI).
In the Broadcast Localism NOI, the Commission summarized a number of Commission rules, policies, and
procedures, past and present, that reflected the Commission’s goal of establishing and maintaining a system of local
broadcasting that is responsive to the unique interests and needs of individual communities. Id. at 12426-7,
paras. 2-4. Following the Broadcast Localism NOI, the Commission subsequently adopted a report on broadcast
localism focused in part on analyzing the efforts of broadcasters “to provide community responsive programming
such as news and public affairs, and programming targeted to the particular needs or interests of certain segments of
the public.” Broadcast Localism, Report on Broadcast Localism and Notice of Proposed Rulemaking, 23 FCC Rcd
1324, 1325 (2007).
95
  See, e.g., Applications of Comcast Corporation, General Electric Company and NBC Universal, Inc. for Consent
to Assign Licenses and Transfer Control of Licensees, Memorandum Opinion and Order, 26 FCC Rcd. 4238, 4320,
para. 197 (2011) (Comcast/NBCU Order) (citation omitted). As the Supreme Court recently recognized, “[t]he FCC
has long explained that the ownership rules seek to promote competition, localism, and viewpoint diversity by
ensuring that a small number of entities do not dominate a particular media market.” Fed. Commc’ns Comm’n v.
Prometheus Radio Project, 141 S.Ct. 1150, 1155 (2021).
96
  Broadcast Localism NOI at 12425, para. 1 (citing Revision of FM Assignment Policies and Procedures, 90
F.C.C.2d 88, 92, para. 11 (1982), on recon., 56 Rad. Reg. 2d (P&F) 448 (1984); Amendment of Section 3.606 of the
Commission’s Rules and Regulations, 41 F.C.C. 148, 167 (1952)); see also, 2002 Biennial Review, 18 FCC Rcd at
13643, para. 74 (“Federal regulation of broadcasting has historically placed significant emphasis on ensuring that
local television and radio stations are responsive to the needs and interests of their local communities.”).
97
     Birach Broadcasting Corp., Hearing Designation Order, 33 FCC Rcd 852, 852, para. 1 (2018).
98
  As the Commission explained in the Broadcast Localism NOI, the concept of localism derives from Title III of the
Communications Act and is reflected in and supported by an array of Commission policies and rules. Broadcast
Localism NOI at 12426-7, paras. 2-4.

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assess localism: the selection of programming responsive to local needs and interests, and local news
quantity and quality.99 In particular, the Commission has noted that the airing of local news and public
affairs programming by local television stations is an important and useful measure of a station’s
effectiveness in serving the needs and interests of its local community.100 Given the First Amendment
concerns with any form of content regulation, the Commission has not attempted to define with exact
precision the programming that a broadcaster should air to serve the needs and interests of its local
community. The Commission has also noted that localism includes political programming aired by the
station, as well as an obligation to seek to serve all significant groups within the community of license
when airing community-responsive programming.101
         36.    Plans and Commitments Regarding Jobs. The Commission has found that, as a general
matter, labor matters are handled and enforced by federal agencies other than the Commission.102 We do
not depart from that precedent here. Rather, we recognize that local journalism is the heart of local news
and community-responsive programming, and in that context we take seriously concerns that a diminution
in the employment of local journalists and other local staff poses a threat to localism.
         37.     Petitioners and critics of the proposed transactions have identified a series of statements
and commitments by SGCI Holdings and Standard General L.P. in the record that seek to demonstrate
that consummation of the proposed transactions will reduce local jobs and, as a consequence, local
service. Petitioners argue that Standard General L.P. has had longstanding plans to reduce station-level
resources since its earlier efforts to acquire TEGNA,103 and that the documentary evidence disclosed in
this proceeding points to a longstanding and ongoing campaign to effect this plan.
         38.     In particular, in the Applicants’ submissions in response to the First Information Request,
TNG-CWA identifies two documents in particular that Standard General L.P. gave to investors, lenders,
or other third parties that flesh out and commit to this business plan.104 First, TNG-CWA points to a
response from Standard General’s HSR Question 4(c)-1 production titled {[
                                 ]} in which Standard General and Apollo state that they “have

99
     2002 Biennial Review, 18 FCC Rcd at 13644, para. 78.
100
      Id. at 13644-5, para. 79.
101
    See, e.g., Broadcast Localism LOI at 12432-35, paras. 19-25. In discussing localism and a licensee’s obligation
to serve the needs and interests of its local community, the Commission has also discussed issues such as the
provision of disaster warnings, ensuring that audiences are aware when material aired has been sponsored by
someone other than the licensee, and the use of national playlists of songs. Id. at 12435-40, paras. 27-39.
102
   See, e.g., Comcast/NBCU Order at 4329-30, para. 223 -24 (2011) (declining to impose employment conditions
that the Commission found were not related to the transaction and that are enforced by agencies other than the
Commission). The Applicants defend their right to lay off staff, arguing that broadcast station staffing matters are
reserved exclusively to the discretion of the licensees because section 303 of the Communications Act does not
authorize the Commission to interfere with non-discriminatory employment decisions, and “the Commission has
‘never suggested that a reduction in a station’s staff is contrary to the public interest, if conducted in a
nondiscriminatory manner.’” Applicants’ Consolidated Opposition at 30 (citing Univision Holdings, Inc.,
Memorandum Opinion and Order, 7 FCC Rcd 6672, 6683 n.45 (1992); 47 U.S.C. § 303).
103
   Common Cause/UCC quotes a 2020 proxy statement from Standard General to TEGNA shareholders which
states: “TEGNA has 2x the number of employees per station compared to peers, and lags its closest local
broadcasting person EBITDA margin.” Common Cause/UCC Petition at 21 (quoting Tegna Inc. & Standard
General L.P., Additional Definitive Proxy Soliciting Materials Filed by Non-Management and Rule 14(a)(12)
Material (Form DFAN14A), at 21 (Apr. 13, 2020), https://sec.report/Document/0001104659-20-
045933/tm2015782-1_dfan14a.htm. https://investors.tegna.com/static-files/064251d9-7c52-4b76-b7b6-
739e3af7a7a2)).
104
   Letter from David Goodfriend, Counsel for TNG-CWA, to Marlene H. Dortch, Secretary, FCC, MB Dkt No.
22-162 (filed Sep. 29, 2022) (TNG-CWA Sep. 29, 2022 Ex Parte Letter) at 2-3.

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conservatively identified {[              ]} of station-level cost savings,” including {[
                                                ]}105 Based on this document, TNG-CWA asserts that the
number of job cuts presented was a floor, not a ceiling.106 TNG-CWA next cites to further information
provided in Standard General’s HSR Question 4(d)-1 document production titled {[

                               .]}107 TNG-CWA argues that these documents refer to “synergies” that are
necessarily post-closing job cuts, and which undercuts the Applicants’ previous assertions that Standard
General’s purported cuts were actually “mid-2021 estimates of operating costs reflected personnel
measures that TEGNA management was already planning to implement (and has since
implemented) . . . .”108
         39.     In addition, CWA identifies three presentations prepared by SGCI Holdings and AGM
from the Second Information Request that it asserts indicate SGCI Holdings’ intent and commitment to
cut jobs post-closing.109 First, CWA points to an email from the lead bank in the Transactions, Royal
Bank of Canada (RBC), to Apollo and Standard General, which CWA asserts that “it appears that as of
September, 2021, RBC not only was aware of the planned station-level staffing cuts but wanted to
promote those cost synergies as a feature of the proposed transaction and use those projected synergies to
encourage other banks to extend credit to Standard General for the proposed transaction.”110 Second, all
12 of the bank lenders involved in the Transactions signed a formal commitment letter on February 22,
2022, coinciding with financial projections made that same month by Standard General {[
                                                                                              ]} and
highlighted in the RBC email.111 CWA concludes that the banks’ representations apparently contemplated
prospective cost savings rather than cuts that had previously been made by TEGNA, and that there is no
indication in the documents that even suggests that TEGNA had already eliminated costs, including
through job cuts, since September, 2021.112 Third, CWA cites to a document produced by SGCI Holdings
in May, 2022, listing again the same cost savings - from its February, 2022 and September, 2021
presentations, and suggesting that there could be more employment cuts following closing of the
Transactions.113



105
   Id. Material set off by double brackets {[ ]} is business-confidential information and is redacted from the public
version of this document.
106
      Id. at 3.
107
      Id. at 4.
  Id. at 2 (citing Applicants’ Consolidated Opposition and Response to Comments at n.102 (citing June 13
108

Response at 9-10)).
109
      CWA Oct. 27, 2022 Supplement at 1.
110
      Id. at 5. That email {[


                                                              ]}
111
      CWA points out that {[


                                                                                                         ]} Id. at 5-6.
112
      Id. at 7.
113
      Id. at 8-9 (citing {[ “

                                                                                         ]})

                                                         16
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        40.     The Applicants provide a competing narrative. They argue that SGCI Holdings’
statements under oath that it does not have, and has never had, any intention of reducing station news or
journalism jobs, or, indeed, station staffing more generally upon consummation of the Transactions,114
outweigh the suppositions drawn by the Petitioners from these documents.
         41.      Further, SGCI Holdings explains that the mid-2021 estimate of operating costs “reflected
personnel measures that TEGNA management was already planning to implement (and has since
implemented).”115 According to SGCI Holdings, logic dictates that it cannot have an intent to eliminate
these positions after closing, because they no longer exist where either (1) the reference in the document
to employee reduction was simply the incorporation of then-existing TEGNA plans that have since been
implemented, or (2) if Standard General believed TEGNA’s stations were overstaffed by a certain number
of employees (which CWA has not demonstrated were news employees in any event), then “TEGNA’s
subsequent reduction in headcount would have already made that change, and there would be no reason
for further station-level staffing reductions.”116 Moreover, SGCI Holdings asserts that the financial
modeling document highlighted by CWA was a tool for price negotiations with TEGNA rather than a
business plan and was not binding.117 Further, according to SGCI Holdings, it could not have made such
staffing decisions with the limited information available to it at that time, and the lack of due diligence
documents necessary to support such a reduction further proves that such decisions were not made.118
        42.      More specifically, in their Joint Response, the Applicants assert that the September 2021
email to RBC does not provide any evidentiary support for planned job reductions and was not relied on
by bankers for four reasons. First, RBC is an advisor to Standard General that assisted with drafting
Transaction-related materials in addition to being a lender, and thus, RBC would not have had any role in
Standard General’s operational decision-making.119 Second, the bracketing of the {[          ]}in the
document indicates that it was merely placeholder text and that the RBC representative drafter did not
know when Standard General expected the actions underlying the various station-level synergies to be
completed.120 Third, {[               ]} of syndication synergies from the end of the Ellen DeGeneres
Show contained in the document comprised part of the estimated {[                 ]} in station-level
synergies which was unquestionably tied to the end of the Ellen DeGeneres Show, so this draft statement
cannot possibly demonstrate that all of the projected station-level savings were expected to be achieved
post-closing or that any other lender understood the synergies analysis to mean that.121 Fourth, the
subsequent version of the draft of the document (circulated the next business day) no longer included the


114
   These statements include the June 16, 2022, letter from Deborah McDermott to TEGNA employees affirming its
intent to preserve local jobs following the Transaction to be probative of SGCI Holdings’ intent, as well as
statements submitted to the Commission. See, e.g., Applicants’ June 13 Response at 9 (“Standard General has
always placed a high value on local journalism and has no intention, and has not had any intention, of reducing news
or news staff at WFXT(TV) or the TEGNA stations.”); Applicants Oct. 13, 2022 Joint Response at 7; id. at 16
(“Standard General does not have any actual or potential plans to consolidate news operations or services following
the Transaction and has repeatedly affirmed — to the public, the Commission, TEGNA’s employees, and its own
advisors — that it is not interested in reducing local station staffing.”).
115
  See, e.g., Letter from Scott R. Flick, Counsel for SGCI Holdings III LLC, to Marlene H. Dortch, Secretary, FCC,
MB Dkt No. 22-162 (filed Oct. 13, 2022) (SGCI Holdings Oct. 13, 2022 Ex Parte Letter) at 2.
116
      Id.
117
      Id.
118
      Id. (citing SGCI Holdings’ document production accompanying the response to the First Information Request).
119
      Applicants Joint Response to Supplement at 13.
120
      Id. at 13-14.
121
      Id. at 14.

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phrase {[                                                                        ]} nor did it appear in the final
version of the September 2021 presentation.122
         43.      The conflicting evidence on the record before us about SGCI Holdings’ intentions and
commitments with regard to local staffing at the TEGNA stations, leaves us with substantial and material
questions of fact, unresolved by Applicants’ filings, that require further investigation to determine the
ultimate effects on localism. Central to this determination would be reconciling the accuracy and
legitimacy of the Applicants’ explanations for the documents seeming to indicate intent and commitments
to reduce station-level staff, including whether the “synergies” of job cuts have already taken place;123
evaluation of SGCI Holdings’ explanations that station-level savings have already been achieved124 and
that the financial model is distinguishable from a financial plan; identification of any such jobs that would
likely be cut as a result of the proposed transaction and their impact on the Commission’s localism
policies; and resolution of apparent timeline inconsistencies about representations on staffing.125
     44.      Additionally, the Applicants have offered certain commitments regarding staffing at the
TEGNA stations if the Commission were to approve the Transactions. That letter states in relevant part:
             To further remove any doubt about station news staffing matters, Standard General
             commits that it will not conduct any journalism or newsroom staffing layoffs or similar
             reductions at the stations for a minimum of two years following the Transactions. To be
             clear, Standard General does not have plans for any future station staffing reductions, but
             cannot predict how future economic conditions or changes in the broadcast industry may
             require broadcasters to make adjustments in the composition or size of station staffing to
             best serve the needs of the public. In that regard, Standard General expects that
             implementation of its plans to increase station news content at TEGNA will actually

122
      Id.
123
   TNG-CWA asserts that “the Applicants appear to be contradicting themselves when they say that post-closing
job cuts (‘synergies’) already have happened,” because the word “synergy” refers to financial effects that occur
after, not before, a transaction closes. TNG-CWA Sep. 29 Ex Parte Letter at 2 (citing the definition for “synergy”
from Investopedia.com as “‘Synergy is the concept that the value and performance of two companies combined will
be greater than the sum of the separate individual parts.’”) (further citations omitted). SGCI Holdings responds that
TNG-CWA’s assumption that a cost-savings “synergy” necessarily means actions taken after closing to improve
profitability is misguided and inappropriate here, where there are no “synergies” that result from a combination in
the proposed transaction because there are no station combinations being created in this transaction and therefore no
station-level jobs or assets are being made redundant. SGCI Holdings Oct. 13, 2022 Ex Parte Letter at 3.
124
    For example, TEGNA explains that the staffing reduction resulted from two primary factors: (1) the execution of
a longstanding technology efficiency initiative consolidating back-office master control duties to a centralized
operation that eliminated approximately {[      ]} positions; and (2) due to economic uncertainty, TEGNA pulled
back on hiring to protect its existing workforce while continuing to experience attrition through departures.
Applicants Oct. 13, 2022 Joint Response. CWA criticizes that explanation because the reduction in TEGNA jobs
from {[
       ]} cannot be dismissed as some organic headcount reduction at TEGNA between December, 2020 and June,
2022, without addressing the multiple references on the confidential record to future job cuts. CWA Nov. 14, 2022
Ex Parte Letter at 8 (citations omitted). Similarly, CWA asserts that that SGCI Holdings’ bracketing of a number in
the September 2021 email from RBC cannot be explained away on the basis that it was a placeholder only; the email
itself “demonstrates an expectation of future actions.” Id. at 4.
125
   CWA claims that SGCI Holdings made presentations to the lenders (or received e-mail correspondence from the
lenders) regarding post-closing job and financial reductions that purport to contradict Standard General’s position
that the staff reductions have been implemented. See, e.g., Letter from David R. Goodfriend, Counsel to
TNG-CWA/NABET-CWA, to Marlene H. Dortch, FCC, Dkt Nos. 22-162, 22-166 (filed Nov. 14, 2022) (CWA
Nov. 14, 2022 Ex Parte Letter) at 2-4; Letter from David R. Goodfriend, Counsel to TNG-CWA/NABET-CWA, to
Marlene H. Dortch, FCC, Dkt Nos. 22-162, 22-166 (filed Nov. 15, 2022) (CWA Nov. 15, 2022 Ex Parte Letter),
Attach.

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           increase the number of journalists and newsroom employees at the stations. To provide
           further assurances to the Commission, Standard General is willing to file quarterly (or if
           the Commission prefers, annual) reports providing the amount of new investments it has
           made at the local station level at TEGNA, as well as, after the conclusion of the two-year
           period referenced above, information regarding any layoffs in the newsrooms of the
           TEGNA stations.126
Petitioners identify what they allege are multiple shortcomings of this proposed commitment, including
that the vague and undefined term “journalism or newsroom staffing” does not extend to most
“station-level staffing”; that the commitment is limited to merely promising no layoffs rather than
referring to the headcount for “station-level staffing;” that the term should cover the entire current license
period for each TEGNA station; that the date of the sales agreement (February 22, 2022) appears to be the
baseline, and does not reflect the significant attrition at TEGNA stations in the past year; and the offer to
file reports lacks transparency and the reports would be unverifiable.127 The Applicants respond that the
SG Staffing Letter fully addresses the Petitioners’ allegations regarding local news and journalists.128
However, the specific deficiencies highlighted by the Petitioners, including the practicality and
sufficiency of the SG Staffing Letter, remain unaddressed and unresolved, leaving substantial and
material questions of fact as to whether and how station-level staffing might be reduced and the effect of
any such reduction on localism.
        45.       Structure of Ownership. The record indicates that two aspects of the ultimate ownership
proposed for New TEGNA also warrant further investigation in order to determine the potential impact on
localism. First, the parties present sharply divergent cases as to whether the organizational form of SGCI
Holdings as an investment fund benefits or harms the ability of the TEGNA Stations to provide local
service going forward. As a central component of its public interest showing, the Applicants assert that a
primary public interest benefit of the Transactions is shifting TEGNA from a publicly-traded company,
tethered to quarterly profit reporting, to a more agile privately-held company that can make longer-term
plans and investments without being punished by the markets when those actions reduce short-term
profitability.129 In contrast, opponents argue that the operating model of private equity funds like
Standard General is to reduce operating costs by cutting jobs and limiting salaries, unlike a media
company such as TEGNA.130 Although four years ago the Bureau gave no weight to a similar

126
   SG Staffing Letter at 1. That letter includes a qualifying footnote: “This commitment is not intended to preclude
case-by-case employment decisions ‘for cause’ that are unrelated to or which could otherwise arise regardless of the
Transactions.” Id. at 1 n.2.
127
      Comments of CWA, UCC, and Common Cause at 9-11 (filed Jan. 13, 2023).
128
      Applicants January 20, 2023 Joint Reply Comments at 6-7.
129
    Applicants’ Nov. 3, 2022 Joint Response to Supplement at 5-6; Applicants’ Consolidated Opposition at 4
(“Publicly traded companies are obligated to demonstrate profits on a quarterly basis to demanding public
shareholders, and may be pressed to lay off employees to demonstrate to the markets that they are taking proactive
steps to maintain their stock value. In contrast, as a private company under Standard General, TEGNA can make
longer-term investments in its stations, won’t have to expend its financial resources buying back its public stock, and
can be far more agile than a public company in pursuing innovation and adopting new technologies like ATSC 3.0
and multi-platform content delivery without having to reveal its plans to competitors through mandatory SEC
filings.”).
130
   See, e.g., Common Cause/UCC Petition at 10 (“Because of the business model set forth by Standard General,
UCC and Common Cause local members reasonably fear that their local TV stations will cover more national news
and hire fewer journalists than under ownership by TEGNA.”); CWA Nov. 14, 2022 Ex Parte Letter at 1
(articulating CWA’s “well-founded fear that approval would become a template for Standard General, [AGM] and
other private equity and hedge funds to replicate the business model that such investment vehicles have used in
decimating the newspaper industry: cutting jobs, selling off real estate and other assets, and reducing service to the
public along the way”).

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allegation,131 the centrality of the issue as a claimed public interest benefit combined with real-world
experience since then leads us to revisit that conclusion.132 A material question remains whether the
specific change in ownership in this transaction from a publicly traded corporation to a private company
owned by an investment fund would promote, hinder, or indeed, have no effect on localism.
          46.      Second, any assessment of localism would also benefit from a determination of the role
of Standard General L.P. in the past as a station owner and, more importantly, its role going forward.
Although the Applicants, on occasion, refer to the role of Standard General L.P. going forward in an
apparent ownership or control capacity, most notably in the recent commitment letters filed in December,
it is not clear that this entity is involved in the Transactions.133 In the Applications and supporting
ownership exhibits, SGCI Holdings is the proposed ultimate parent company, with only a passing
reference to Standard General L.P. which would appear to have no role in management, ownership, or
control in any capacity. There is a material question how relevant the experience under different,
unidentified Standard General L.P. ownership would be compared to that of SGCI Holdings.134
         47.     Programming Production. We also find two issues related to the production of
community-responsive programming to raise substantial and material questions of fact as to whether
SGCI Holdings’ acquisition of the TEGNA stations will harm localism. First, questions have been raised
in the record regarding how New TEGNA’s creation and use of a Washington, D.C., news bureau will
impact localism, and, in particular, whether it would increase or reduce the Stations’ local journalism and
coverage of local issues. While the Applicants tout the use of a Washington, D.C. news bureau as a
public interest benefit of the Transactions, and pledge to improve coverage from TEGNA’s existing D.C.
news operation,135 Petitioners argue that greater reliance on programming from a national news bureau
will come at the expense of local news investment and coverage.136
         48.     In prior transactions, the Commission has found the use of such a Washington, D.C. news
desk to be a public benefit.137 For example, in the 2019 Nexstar/Tribune transaction, the Commission
found that such a news bureau would be a public benefit in its own right. However, the Commission in
that case did not specifically evaluate the impact of such a news bureau on localism.138 Moreover, that

131
   Terrier Media, 34 FCC Rcd at 10567, para. 35 (“[W]e give no weight to [Common Cause’s] allegation that
AGM’s involvement in the transaction, as a private equity firm, casts doubt that the Transaction would benefit
localism and viewpoint diversity, on the basis that private equity firms typically impose cost-cutting measures that
‘gut newsrooms’ in an attempt to generate profits before re-selling the stations after a few years.”)
132
   For example, Common Cause/UCC indicates that its prior fears about AGM’s cost-cutting were justified. See
Common Cause/UCC Petition at 19 (“Further, the Applicants fail to mention the layoffs that took place at CMG
stations after Apollo’s acquisition. After its purchase of CMG, Apollo laid off reporters and on-air personalities in
stations across multiple markets.”).
  Two of the commitment letters on “Standard General” letterhead define “Standard General” to include both SGCI
133

and Standard General L.P, and then go on to describe Standard General’s commitments and plans. See SG
Retransmission Waiver Letter at 1; SG Staffing Letter at 1.
134
   This issue is complicated by the fact that Standard General L.P. negotiated the Transactions as it was seeking
funding for SGCI Holdings.
135
      Applicants’ Consolidated Opposition at 34.
136
      See, e.g., CWA Petition at 14-15.
137
   Nexstar-Tribune at 8453, para. 32 (citing Gray-Raycom Order, 33 FCC Rcd at 12361-62, para. 31) (finding that
expanded access to Washington, DC news bureaus can produce transaction-specific public interest benefits to
viewers and give stations access to new resources).
  Nexstar/Tribune at 8449, para. 26 (finding that “the Tribune stations’ new access to reporting from Nexstar’s
138

Washington, DC, news bureau and state news bureaus provides transaction-specific, public interest benefits to
Nexstar’s and Tribune’s viewers”).

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decision involved the impact of the creation of a Washington news desk.139 Here, such a Washington,
D.C. News bureau already exists under TEGNA’s current management. Thus, the Applicants do not
propose to create such a news bureau, but rather to improve and expand the Stations’ use of that
programming source.140 CWA challenges the Applicants’ unsupported assertions that the Transactions
will improve the Stations’ local programming,141 and notes that SGCI Holdings does not argue, much less
prove, that TEGNA’s current Washington, D.C.-originated news coverage is somehow deficient or
inadequate. Therefore, CWA contests the validity of this claimed benefit, or whether SGCI Holding’s
commitment will yield any value.142
         49.     Second, questions have been raised in the record regarding whether SGCI Holding’s
apparent intent to provide local news services remotely will promote or harm localism. In explaining its
plan for the proposed operation of New TEGNA, the Applicants cite as an example Standard General’s
past local news improvement and that it increased newsroom staff by 28% following its acquisition of its
current four television stations in February 2021.143 CWA counters that Standard General does not
indicate where this new staff is located, which, it argues, matters because Standard General has been
producing a faux “local” Cape Girardeau newscast with anchors, editors and other staff piped in from
Lincoln, Nebraska, more than 500 miles away.144
        50.     The Commission has previously rejected an objection to the use of “regional hubs” in
news production and other functions at stations in the same or nearby markets. In that case, the
Commission found that allegations that the proposed use of regional hubs would lead to a loss of local
news production was speculative, and that it had previously recognized the benefits to licensees of
consolidating administrative functions.145 Here, however, the Applicants have not provided any

139
      Id.
140
   SGCI Holdings explains that its concept for a DC-based news bureau serving TEGNA stations is a team that
works with local station journalists to facilitate interviews with congresspeople and policymakers relevant to those
stations’ local communities. Applicants’ Joint Response at 15.
141
   See, e.g., Applicants June 13, 2022 Response at 6 (“Standard General also intends to improve coverage from
TEGNA’s current DC newsroom to improve local station performance, enabling better coverage of national events,
including breaking news, political news, and in-depth and investigative reporting from the nation’s capital.”).
142
   CWA Petition at 15-16. Common Cause/UCC and CWA question Standard General’s plans “to increase cookie-
cutter, nationally distributed content” from a D.C. news desk, which will just enable it to reduce locally-originated
programming and consequently the levels of employment at local stations. Joint Reply at 26-27.
143
   Applicants June 13, 2022 Response at 6. In particular, the Applicants note the addition of six local journalists to
KBSI(TV), Cape Girardeau, Missouri, that it asserts were employed to produce unique local news stories from that
community. Id. The Applicants assert further that future management by Mr. Kim and Ms. McDermott is one of
the primary public interest benefits of the Transactions, cite improvements to local news at stations owned by
Standard General, and assert that the duo will continue their record “of investing in and improving local station
operations—with an emphasis on local news and other community-specific initiatives—following its acquisition of
the TEGNA stations.” See, e.g., Comprehensive Exh. at 5-6; Applicants June 13, 2022 Response at 7. The
Applications highlight the improvements that Mr. Kim and Ms. McDermott brought to the local news and station
capabilities when they previously operated Young Broadcasting and Media General. The Applications emphasize
that these two executives who would lead New TEGNA have successful histories of improving television broadcast
companies, investing in infrastructure, and airing thousands of hours more local news programming at those stations
than was airing prior to their involvement. Comprehensive Exh. at 6; Applicants’ Consolidated Opposition at 18-22.
144
   CWA Petition at 15-16 (citations omitted). But see Applicants’ Consolidated Opposition at 20-21 (submitting
that KBSI(TV) did not produce any news prior to Standard General’s acquisition of it in 2021, because it was
rebroadcasting a competitors’ newscast pursuant to a news share agreement).
145
    See Nexstar/Tribune at 8453, para. 32 (citing 2002 Biennial Regulatory Review – Review of Commission’s
Broadcast Ownership Rules and Other Rules Adopted Pursuant to Section 202 of Telecommunications Act of 1996
et al., Notice of Proposed Rulemaking, 17 FCC Rcd 18503, 18528, para. 74 (2002)).

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indication that New TEGNA would rely on regional hubbing or any such strategy, or that SGCI Holdings
has any plan to consolidate administrative activity. In order to assess the impact of SGCI Holdings’
planned operations on the TEGNA Stations’ ability to serve the needs and interests of their local
communities, further examination of New TEGNA’s evident plans to gather and broadcast local news
remotely is necessary.
III.       ORDERING CLAUSES
        51.     Accordingly, IT IS ORDERED, That, pursuant to Sections 309(e) of the Act, 47 U.S.C.
§ 309(e), and section 1.254 of the Commission’s rules, 47 CFR § 1.254, the above-captioned applications
ARE DESIGNATED FOR HEARING to be held at a time and location specified in a subsequent Order
by the Administrative Law Judge, upon the following questions:

       (a) Whether, in light of the record presented, retransmission consent fees will rise as a result of the
           Transactions, and if so, whether such an increase is the result of a properly functioning,
           competitive marketplace, or, alternatively, whether such rate increases would be the result of the
           unique structure of the Transactions in which the various assignments and/or transfers of control
           are closed sequentially in order to take advantage of after-acquired station clauses and maximize
           retransmission revenue, and further, whether such a result would be mitigated by the
           commitments offered by the Applicants; and

       (b) Whether, and to what extent, in light of the record presented, local content and programming in
           the affected communities would be adversely affected due to the proposed plans and
           commitments of SGCI Holdings for station-level staff; its intentions for investments in the
           stations; the potential financial pressures connected with the acquisition and ownership structure;
           and the potential effectiveness of the commitments offered by the Applicants.

        52.      IT IS FURTHER ORDERED, That, pursuant to Section 309(e) of the Act, 47 U.S.C. §
309(e), and section 1.254 of the Commission’s rules, 47 CFR § 1.254, both the BURDEN OF
PROCEEDING with the introduction of evidence and the BURDEN OF PROOF with respect to issues
specified above shall be upon SGCI Holdings, CNM, CMG, TEGNA, and TPC. We are assigning the
burdens in this manner because SGCI Holdings, CNM, CMG, TEGNA, and TPC have the particular
knowledge of the specific facts at issue in this proceeding, as well as the statutory obligation to
demonstrate that grant of the Transaction is in the public interest.
         53.      IT IS FURTHER ORDERED, That to avail itself of the opportunity to be heard, SGCI
Holdings, CNM, CMG, TEGNA, and TPC pursuant to Section 1.221(c) and 1.221(e) of the
Commission’s Rules, 47 CFR § 1.221(c) and 1.221(e), in person or by their respective attorneys, SHALL
FILE, a WRITTEN APPEARANCE, stating an intention to appear on the date fixed for the hearing and
present evidence on the issues specified in the Order. Such written appearance shall be filed within 20
days of the mailing of this Order pursuant to Paragraph 60 below. Pursuant to Section 1.221(c) of the
Commission’s rules, if the applicants fail to file an appearance within the specified time period, or have
not filed prior to the expiration of that time a petition to dismiss without prejudice, or a petition to accept,
for good cause shown, such written appearance beyond expiration of said 20 days, the assignment
application will be dismissed with prejudice for failure to prosecute.
         54.     IT IS FURTHER ORDERED, that, having filed petitions to deny, TNG-CWA and the
National Association of Broadcast Employees and Technicians-CWA (NABET-CWA) (collectively,
CWA) and Common Cause and United Church of Christ, OC, Inc. (collectively, Common Cause/UCC)
are made parties to the proceeding pursuant to Section 1.221(d) of the Commission’s rules, 47 CFR
§ 1.221(d). To avail themselves of the opportunity to be heard, pursuant to Sections 1.221(e) of the
Commission’s rules, each of these parties, in person or by its attorneys, SHALL FILE, a WRITTEN
APPEARANCE, stating its intention to appear on the date fixed for the hearing and present evidence on
the issues specified in this Order. Such written appearance shall be filed within 20 days of the mailing of

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this Order pursuant to Paragraph 60 below. If any of these parties fails to file an appearance within the
time specified, it shall, unless good cause for such failure is shown, forfeit its hearing rights.
         55.     IT IS FURTHER ORDERED, That the Chief, Enforcement Bureau, shall be made a
party to this proceeding without the need to file a written appearance.
        56.      IT IS FURTHER ORDERED, That a copy of each document filed in this proceeding
subsequent to the date of adoption of this document SHALL BE SERVED on the counsel of record
appearing on behalf of the Chief, Enforcement Bureau. Parties may inquire as to the identity of such
counsel by calling the Investigations & Hearings Division of the Enforcement Bureau at (202) 418-1420.
Such service copy SHALL BE ADDRESSED to the named counsel of record, Investigations & Hearings
Division, Enforcement Bureau, Federal Communications Commission, 45 L Street NE, Washington, DC
20554.
        57.     IT IS FURTHER ORDERED, That SGCI Holdings, pursuant to Section 311(a)(2) of
the Act, 47 U.S.C. § 311(a)(2), and Section 73.3594 of the Commission’s Rules, 47 CFR § 73.3594,
SHALL GIVE NOTICE of the hearing within the time and in the manner prescribed in such Rules, and
SHALL ADVISE the Commission of the publication of such notice as required by Section 73.3594(b) of
the Rules, 47 CFR § 73.3594(b).
         58.     IT IS FURTHER ORDERED, That a copy of this document, or a summary thereof,
shall be published in the Federal Register.
        59.      IT IS FURTHER ORDERED, That, within fifteen (15) days of the date that
WRITTEN APPEARANCES are due, the Administrative Law Judge shall issue a Scheduling Order that
includes a set date for resolution.
        60.      IT IS FURTHER ORDERED, That the Commission’s Consumer and Governmental
Affairs Bureau, Reference Information Center SHALL SEND a copy of this Order by certified
mail/return receipt requested to:
        TEGNA, Inc.

                Michael Beder
                TEGNA Inc.
                8350 Broad Street, Suite 2000
                Tysons, VA 22102

                Jennifer A. Johnson
                Covington & Burling LLP
                One CityCenter
                850 Tenth Street, NW
                Washington, DC 20001

        SGCI Holdings III LLC / Community News Media LLC

                Soohyung Kim
                SGCI Holdings III LLC
                767 Fifth Avenue
                12th Floor
                New York, NY 10153

                Scott R. Flick
                Pillsbury Winthrop Shaw Pittman LLP
                1200 Seventeenth Street NW
                Washington, DC 20036
                                                     23
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 CMG Media Corporation / Teton Parent Corp.

        CMG Legal Dept.
        1601 W. Peachtree Street, NE
        Atlanta, GA 30309
        United States

        Michael Basile
        Cooley LLP
        1299 Pennsylvania Avenue, NW
        Suite 700
        Washington, DC 20004

 Common Cause

        Yosef Getachew
        Common Cause
        805 15th Street NW, Suite 800
        Washington, DC 20005

 United Church of Christ Media Justice Ministry

        Cheryl A. Leanza
        United Church of Christ Media Justice Ministry
        100 Maryland Avenue, NE
        Washington,, DC 20002

 The Newsguild – CWA / National Association of Broadcast Employees and Technicians –
 CWA

        Andrew Jay Schwartzman
        1341 G Street, NW
        Fifth Floor
        Washington, DC 20005

        David R. Goodfriend
        The Goodfriend Group
        208 I Street, NE
        Washington, DC 20002

                                        FEDERAL COMMUNICATIONS COMMISSION




                                        Holly Saurer
                                        Chief, Media Bureau




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                                            Attachment
                                   TEGNA Merger Applications
  Call Sign      Community of          Application            Licensee              Facility
                   License              File Nos.                                     ID

WUPL(TV)      Slidell, LA              0000186355    Belo TV, Inc.                   13938

WBXN-CD       New Orleans, LA          0000186356    Belo TV, Inc.                   70419

KTHV(TV)      Little Rock, AR          0000186358    Cape Publications, Inc.         2787

KFSM-TV       Fort Smith, AR           0000186359    Cape Publications, Inc.         66469

WZZM(TV)      Grand Rapids, MI         0000186369    Combined Communications         49713
                                                     of Oklahoma, LLC

KENS(TV)      San Antonio, TX          0000186371    KENS-TV, Inc.                   26304

KFMB-TV       San Diego, CA            0000186372    KFMB-TV, LLC                    42122

KING-TV       Seattle, WA              0000186389    KING Broadcasting               34847
                                                     Company

KREM(TV)      Spokane, WA              0000186391    KING Broadcasting               34868
                                                     Company

KTVB(TV)      Boise, ID                0000186394    KING Broadcasting               34858
                                                     Company

K15IO-D       McCall & New             0000186397    KING Broadcasting               34869
              Meadows, ID                            Company

K16JE-D       Glenns Ferry, ID         0000186393    KING Broadcasting              188132
                                                     Company

K17KF-D       Cambridge, ID            0000186392    KING Broadcasting              188131
                                                     Company

K21CC-D       Lewiston, ID             0000186390    KING Broadcasting               50532
                                                     Company

K23KY-D       Council, ID              0000186399    KING Broadcasting               11446
                                                     Company

K29NB-D       Cascade, ID              0000186396    KING Broadcasting               34884
                                                     Company

K30QA-D       Coeur D’Alene, ID        0000186398    KING Broadcasting               34861
                                                     Company



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KTFT-LD      Twin Falls, ID            0000186395   KING Broadcasting              167056
                                                    Company

KONG(TV)     Everett , WA              0000186373   KONG-TV, Inc.                   35396

KSKN(TV)     Spokane, WA               0000186387   KSKN Television, Inc.           35606

KTTU(TV)     Tucson, AZ                0000186400   KTTU-TV, Inc.                   11908

KWES-TV      Odessa, TX                0000186401   KWES Television, LLC            42007

KXTV(TV)     Sacramento, CA            0000186403   KXTV, LLC                       25048

KBMT(TV)     Beaumont, TX              0000186374   LSB Broadcasting, Inc.          10150

KCEN-TV      Temple, TX                0000186384   LSB Broadcasting, Inc.          10245

KIDY(TV)     San Angelo, TX            0000186376   LSB Broadcasting, Inc.          58560

KIII(TV)     Corpus Christi, TX        0000186379   LSB Broadcasting, Inc.          10188

KXVA(TV)     Abilene, TX               0000186377   LSB Broadcasting, Inc.          62293

KYTX(TV)     Nacogdoches, TX           0000186385   LSB Broadcasting, Inc.          55644

KUIL-D       Beaumont, TX              0000186380   LSB Broadcasting, Inc.         168234

KAGS-LD      Bryan, TX                 0000186378   LSB Broadcasting, Inc.          10246

KIDB-LD      Sweetwater, TX            0000186375   LSB Broadcasting, Inc.          53545

KIDU-LD      Brownwood, TX             0000186383   LSB Broadcasting, Inc.          58559

KIDV-LD      Albany, TX                0000186381   LSB Broadcasting, Inc.          58571

KVHP-LD      Jasper, TX                0000186382   LSB Broadcasting, Inc.         168235

WGRZ(TV)     Buffalo, NY               0000186402   Multimedia Entertainment,       64547
                                                    LLC

KARE(TV)     Minneapolis, MN           0000186415   Multimedia Holdings             23079
                                                    Corporation

KNAZ-TV      Flagstaff, AZ             0000186416   Multimedia Holdings             24749
                                                    Corporation

KPNX(TV)     Mesa, AZ                  0000186424   Multimedia Holdings             35486
                                                    Corporation

K06AE-D      Prescott, AZ              0000186422   Multimedia Holdings             35274
                                                    Corporation

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K26OD-D     Globe, AZ                  0000186421   Multimedia Holdings             35487
                                                    Corporation

KPSN-LD     Payson, AZ                 0000186417   Multimedia Holdings             63396
                                                    Corporation

KTVD(TV)    Denver, CO                 0000186423   Multimedia Holdings             68581
                                                    Corporation

KUSA(TV)    Denver, CO                 0000186419   Multimedia Holdings             23074
                                                    Corporation

WJXX(TV)    Orange Park, FL            0000186420   Multimedia Holdings             11893
                                                    Corporation

WTLV(TV)    Jacksonville, FL           0000186418   Multimedia Holdings             65046
                                                    Corporation

KSDK(TV)    St. Louis, MO              0000186404   Multimedia KSDK, LLC            46981

WATL(TV)    Atlanta, GA                0000186406   Pacific and Southern, LLC       22819

WLTX(TV)    Columbia, SC               0000186407   Pacific and Southern, LLC       37176

WMAZ-TV     Macon, GA                  0000186409   Pacific and Southern, LLC       46991

WXIA-TV     Atlanta, GA                0000186408   Pacific and Southern, LLC       51163

WBNS(AM)    Columbus, OH               0000186364   RadiOhio, Incorporated          54901

WBNS-FM     Columbus, OH               0000186363   RadiOhio, Incorporated          54701

WHAS-TV     Louisville, KY             0000186405   Sander Operating Co. I          32327
                                                    LLC D/B/A WHAS
                                                    Television

KGW(TV)     Portland, OR               0000186444   Sander Operating Co. III        34874
                                                    LLC D/B/A KGW
                                                    Television

K16ML-D     Corvallis, OR              0000186450   Sander Operating Co. III        34851
                                                    LLC D/B/A KGW
                                                    Television

K17HA-D     Astoria, OR                0000186449   Sander Operating Co. III       130923
                                                    LLC D/B/A KGW
                                                    Television

K19LT-D     Prineville, etc., OR       0000186445   Sander Operating Co. III        34864
                                                    LLC D/B/A KGW
                                                    Television


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K25KS-D     The Dalles, OR           0000186452   Sander Operating Co. III       34844
                                                  LLC D/B/A KGW
                                                  Television

K28MJ-D     Tillamook, OR            0000186446   Sander Operating Co. III      189303
                                                  LLC D/B/A KGW
                                                  Television

K29AZ-D     Newport, OR              0000186448   Sander Operating Co. III       34865
                                                  LLC D/B/A KGW
                                                  Television

K35HU-D     Grays River, WA          0000186451   Sander Operating Co. III       34870
                                                  LLC D/B/A KGW
                                                  Television

KGWZ-LD     Portland, OR             0000186447   Sander Operating Co. III       30810
                                                  LLC D/B/A KGW
                                                  Television

KMSB(TV)    Tucson, AZ               0000186388   Sander Operating Co. V         44052
                                                  LLC D/B/A KMSB
                                                  Television

KCWI-TV     Ames, IA                 0000186425   TEGNA Broadcast                51502
                                                  Holdings, LLC

WCCT-TV     Waterbury, CT            0000186430   TEGNA Broadcast                14050
                                                  Holdings, LLC

WNEP-TV     Scranton, PA             0000186427   TEGNA Broadcast                73318
                                                  Holdings, LLC

WOI-DT      Ames, IA                 0000186435   TEGNA Broadcast                8661
                                                  Holdings, LLC

WPMT        York, PA                 0000186439   TEGNA Broadcast                10213
                                                  Holdings, LLC

WQAD-TV     Moline, IL               0000186438   TEGNA Broadcast                73319
                                                  Holdings, LLC

WTIC-TV     Hartford, CT             0000186428   TEGNA Broadcast                 147
                                                  Holdings, LLC

WZDX(TV)    Huntsville, AL           0000186429   TEGNA Broadcast                28119
                                                  Holdings, LLC

W07DC-D     Allentown/               0000186437   TEGNA Broadcast                73325
            Bethlehem, PA                         Holdings, LLC



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W10CP-D     Towanda, PA                0000186431   TEGNA Broadcast                73320
                                                    Holdings, LLC

W14CO-D     Clarks Summit, etc.,       0000186432   TEGNA Broadcast                73326
            PA                                      Holdings, LLC

W15CO-D     Towanda, PA                0000186436   TEGNA Broadcast                73324
                                                    Holdings, LLC

W20AD-D     Williamsport, PA           0000186433   TEGNA Broadcast                73321
                                                    Holdings, LLC

W26CV-D     Mansfield, PA              0000186426   TEGNA Broadcast               129499
                                                    Holdings, LLC

W29FQ-D     Pottsville, PA             0000186434   TEGNA Broadcast                73327
                                                    Holdings, LLC

WTSP(TV)    St. Petersburg, FL         0000186365   Tegna East Coast               11290
                                                    Broadcasting, LLC

WLBZ(TV)    Bangor, ME                 0000186368   Tegna East Coast               39644
                                                    Broadcasting, LLC

WCSH(TV)    Portland, ME               0000186366   Tegna East Coast               39664
                                                    Broadcasting, LLC

WGCI-LD     Skowhegan, ME              0000186367   Tegna East Coast               39642
                                                    Broadcasting, LLC

WATN-TV     Memphis, TN                0000186411   TEGNA Memphis                  11907
                                                    Broadcasting, Inc.

WLMT(TV)    Memphis, TN                0000186412   TEGNA Memphis                  68518
                                                    Broadcasting, Inc.

WTHR(TV)    Indianapolis, IN           0000186414   VideoIndiana, Inc.             70162

WALV-CD     Indianapolis, IN           0000186413   VideOhio, Inc.                 70161

WBIR-TV     Knoxville, TN              0000186443   WBIR-TV, LLC                   46984

WBNS-TV     Columbus, OH               0000186362   WBNS-TV, Inc.                  71217

WCNC-TV     Charlotte, NC              0000186440   WCNC-TV, Inc.                  32326

W17EE-D     Lilesville/                0000186441   WCNC-TV, Inc.                  32316
            Wadesboro, NC

W36FB-D     Briscoe, NC                0000186442   WCNC-TV, Inc.                  32317


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WFAA(TV)          Dallas, TX                 0000186453       WFAA-TV, Inc.                    72054

WFMY-TV           Greensboro, NC             0000186454       WFMY Television, LLC             72064

WKYC(TV)          Cleveland, OH              0000186455       WKYC-TV, LLC                     73195

WTOL(TV)          Toledo, OH                 0000186456       WTOL Television, LLC             13992

WUSA(TV)          Washington, D.C.           0000186457       WUSA-TV, Inc.                    65593

WVEC(TV)          Hampton, VA                0000186459       WVEC Television, LLC             74167

WJHJ-LP146        Newport News, Etc.,             **          WVEC Television, LLC             35137
                  VA

WYSJ-CD147        Yorktown, VA                    **          WVEC Television, LLC             35134

WWL-TV            New Orleans, LA            0000186352       WWL-TV, Inc.                     74192


                                    Texas Stations to Be Acquired by CMG
      Call Sign      Community of          Application File           Licensee           Facility ID
                       License                  Nos.

KHOU(TV)            Houston, TX               0000186461         KHOU-TV, Inc.              34529

KTBU(TV)            Conroe, TX                0000186460         KHOU-TV, Inc.              28324

KMPX(TV)            Decatur, TX               0000186462         WFAA-TV, Inc.              73701

                                              0000186458         KVUE                       35867
KVUE(TV)            Austin, TX
                                                                 Television, Inc.


                                      Community News Media Transfers
      Call Sign      Community of            Application               Licensee               Facility
                       License                File Nos.                                         ID

KLKN(TV)          Lincoln, NE                0000186354       KLKN Lincoln License             11264
                                                              LLC




146
  Currently in the process of being acquired by TEGNA licensee WVEC Television, LLC. See LMS File No.
0000187978
147
  Currently in the process of being acquired by TEGNA licensee WVEC Television, LLC. See LMS File No.
0000187977

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WLNE-TV      New Bedford, MA         0000186357   WLNE Providence License       22591
                                                  LLC

WDKA(TV)     Paducah, KY             0000186361   Paducah Television License    39561
                                                  LLC

KBSI(TV)     Cape Girardeau, MO      0000186360   Paducah Television License    19593
                                                  LLC


                                         WFXT Sale
 Call Sign     Community of         Application           Licensee             Facility
                 License             File Nos.                                   ID

WFXT(TV)     Boston, MA             0000186353    Teton Opco Corp.              6463




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